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                  UNITED STATES DISTRICT COURT FOR THE
                       DISTRICT OF NEW HAMPSHIRE


United States of America,
      Plaintiff

             v.                              Case No. 09-cr-77-01/02-SM

Renaury Ramirez Garcia and
Kelvin Garcia,
      Defendants

                                    ORDER


      Defendant Renaury Garcia’s motion to continue the trial is granted

(document no. 21). Trial has been rescheduled for the month of September

2009. Defendant Renaury Garcia shall file a waiver of speedy trial rights not

later than June 15, 2009. On the filing of such waiver, his continuance shall be

effective.

      The Court finds that the ends of justice served by granting a continuance

outweigh the best interest of the public and the defendants in a speedy trial,

18 U.S.C. § 3161(h)(8)(B)(iv), in that failure to grant a continuance would

unreasonably deny the defendants the reasonable time necessary for effective

preparation taking into account the exercise of due diligence under the

circumstances.
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       Final Pretrial Conference is scheduled for September 4, 2009 at 11:30

a.m.

       Jury selection will take place on September 15, 2009 at 9:30 a.m.



       SO ORDERED.



                                      _________________________
                                        Steven J. McAuliffe
                                            Chief Judge


June 4, 2009

cc:    Kevin Sharkey, Esq.
       Adam Bernstein, Esq.
       Terry Ollila, AUSA
       U.S. Marshal
       U.S. Probation




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